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Form B18

                                  United States Bankruptcy Court
                                           District of South Dakota

In re:                                                             Bankr. No. 17−50068
   Maja Jacquietta Simone Cromwell                                  Chapter 7
   SSN/ITIN xxx−xx−6309
                                                                    ORDER OF DISCHARGE
   Debtor(s)


     Upon consideration of the record before the Court; and it appearing Debtor Maja Jacquietta Simone Cromwell is
entitled to a discharge; now, therefore,

       IT IS HEREBY ORDERED Debtor Maja Jacquietta Simone Cromwell is granted a discharge under 11 U.S.C. §
727.

    So ordered: July 25, 2017 .




                                                                   BY THE COURT:




                                                                   Charles L. Nail, Jr.
                                                                   United States Bankruptcy Judge




                   SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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                               EXPLANATION OF BANKRUPTCY DISCHARGE
                                        IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property:] [There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That Are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That Are Not Discharged.

       Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

       a. Debts for most taxes;

       b. Debts that are domestic support obligations;

       c. Debts for most student loans;

       d. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

       e. Debts for death or personal injury caused by operating a vehicle while intoxicated;

       f. Some debts which the debtor did not properly list;

       g. Debts the bankruptcy court has decided or will decide are not discharged in this bankruptcy case;

       h. Debts for certain types of loans owed to pension, profit sharing, stock bonus, or retirement plans; and

       i. Debts covered by a valid reaffirmation agreement.

       In addition, this discharge does not stop creditors from collecting from anyone else who is also liable on the
debt, such as an insurance company or a person who cosigned or guaranteed a loan.

      This information is only a general summary of the bankruptcy discharge; some exceptions exist. Because
the law is complicated, you should consult an attorney to determine the exact effect of the discharge in this
case.
